

	
	

	
	

	
	
	
	
	
	
	
	Supreme Court of Georgia |










		
		
		
		
		

					
				
		






























	
	

	

	

	
	

				
		
				
					
				
													
			
				
																Home
FAQ
Contact Us

									
			
				
		 
			
				
					
		
										
					
																						
					
																
					
					
					
					
									
								
											
			
					
			
				Court Information




	Court
	
		Clerk’s Office
		Directions
		Holidays
		Tours
		History
		Media
		Purchase Certificates, Opinions and DVD’s
		Archived Oral Arguments
		Employment Opportunities
		News and Reports
	

	Biographies
	
		Chief Justice Hugh P. Thompson
		Presiding Justice P. Harris Hines
		Justice Robert Benham
		Justice Carol W. Hunstein
		Justice Harold D. Melton
		Justice David E. Nahmias
		Justice Keith R. Blackwell
	

	Certificates &amp; Reports
	
		Law School Graduate Certificate
		Reciprocity/Court of Last Resort Certificates
		Legal Education Committee Report
	

	Quick Links
	
		Attorney Admissions
		Domestic Relations Cases
		Legal Websites
		Pauper’s Affidavit
		Record Appendix – Rule 67
	







Oral Argument Calendar

	2016 Summaries of Cases
	2015 Summaries of Cases


Docket
Granted and Denied Petitions

	2016 Granted
	2016 Denied
	2015 Granted
	2015 Denied
	2014 Granted
	2014 Denied


Granted Applications

	2016 Rule 34 (4) Discretionary
	2016 Interlocutory
	2015 Rule 34 (4) Discretionary
	2015 Interlocutory
	2014 Rule 34 (4) Discretionary
	2014 Interlocutory


Opinions

	Forthcoming Opinions
	2016 Opinions
	2015 Opinions


Rules
e-file
																					
		
	 
					
				
			
					
		
					
				
							
		
		
				­		
			
	
				
			HomeSam Harry2015-11-02T16:00:59+00:00						
				


	
	
	
		
		
		

		
		 
		

		
		Welcome to the  Supreme Court of Georgia. 
		

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
		
	
	
	
		
		
		

		
		 
		

		
		Justices' Biographies 
		

		
		Read about the Justices of the Supreme Court of Georgia. 
		
	
	
	
		
		
		

		
		 
		

		
		Oral Arguments
 
		

		
		View oral arguments from the current Court term. 
		
	
	
	
		
		
		

		
		 
		

		
		Opinions 
		

		
		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
		
	
	
	
		
		
		

		
		 
		

		
		Court History
 
		

		
		Learn about the history of the Supreme Court of Georgia. 
		
	

	

		
		
				
Oral Argument Calendar

Docket Search

e-file

Media

							
											
			
				  
			  

									
							
								

									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
Directions
Quick LinksForthcoming Opinions
Docket Search
Archived Oral Arguments
Media
Purchase
ORAL ARGUMENT CALENDARView Calendar

				Go to Today december, 2016
						Sort Options
					
						Sort By:
						dateDate
					
			
				
				
				
				
				montuewedthufrisatsun
			
			---12345678910111213141516171819202122232425262728293031
				
			No Events			
			
			
						

							Recent News &amp; Reports		
					
				12/7/16 – Gov. Nathan Deal swore in three new justices to the Supreme Court of Georgia.
						
					
				12/6/16 – SALLIE DENIED STAY OF EXECUTION
						
					
				11/30/16 – JUDGE WYNNE TO HEAR GEORGIA SUPREME COURT CASE
						
				
				View More News and Reports

									
								 
							 
						 
											
							
								

											
			© 2016 Supreme Court of Georgia All Rights Reserved | Privacy | E-Verify ID
		
		
								 
							 
						 
								 
						 

		
		

		

						
		


 












		
	
